                                UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF IOWA


 IOWA SAFE SCHOOLS, et al.,
   Plaintiffs,                                                     Case No. 4:23-cv-474-SHL-SBJ

        v.

 KIM REYNOLDS, in her official                                    RESISTANCE TO PLAINTIFFS’
 capacity as Governor of the State of                             MOTION FOR PRELIMINARY
 Iowa, et al.,                                                           INJUNCTION
    Defendants.




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                                Introduction
   State and federal law set educational standards in Iowa schools. Senate File

496 fits into those standards. And SF496 is constitutionally valid. The law does

not regulate private speech, discriminate because of any suspect classification,

or violate federal law.

   Plaintiffs here—nine current Iowa students and an organization—chal-

lenge SF496. Though they ask the Court to enjoin enforcement of the entire

law, Plaintiffs attack only three parts: the State’s decision about what books

remain on school library shelves (“Library Program”); imposing on schools a
duty to inform parents if a student seeks significant social or medical attention

(“Parental Notice Section”); and a curriculum standard that reserves school

instruction on “gender identity” and “sexual orientation” until after sixth grade

(“Instruction Section”). Plaintiffs also bring an equal protection and statutory

challenge. But they lack standing and their claims fail on the merits.

                                 Background

I. SF496 and its contents.

   During a national conversation about schools and parental rights, the Leg-

islature passed SF496, which affirmed the longstanding American and Iowa
traditions of strong parental rights alongside the State’s unique role in forming

its citizenry. See Murphy v. Arkansas, 852 F.2d 1039, 1041 (8th Cir. 1988).

SF496 confirmed that “a parent [] bears the ultimate responsibility, and has

the fundamental, constitutionally protected right, to make decisions affecting

the parent’s [] minor child.” SF496, § 24 (Iowa Code § 601.1(2)).

   The law established standards for school districts to use to determine

whether certain books are appropriate for a school curriculum. See SF496 §§ 2,

4 (Iowa Code § 256.11). The three sections that Plaintiffs target ensure that




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parents retain control over when and how to discuss sex and sexuality with

their children:

   •   The Instruction Section prohibits school districts from using “any pro-
       gram, curriculum, test, survey, questionnaire, promotion, or instruction
       relating to gender identity or sexual orientation to students in kinder-
       garten through grade six.” Id. § 16 (Iowa Code § 279.80).

   •   The Library Program requires schools to adopt a library program that
       “contains only age-appropriate materials and supports the student
       achievement goals of the total school curriculum.” Id. § 3 (Iowa Code
       § 256.11(9)(a)(1)).

   •   The Parental Notice section forbids school districts from “knowingly
       giv[ing] false or misleading information” to parents about their child’s
       “gender identity or intention to transition to a gender that is different
       than” their sex. Id. § 14 (Iowa Code § 279.78(2)). Licensed school person-
       nel must also report to a school administrator a student’s request for “an
       accommodation that is intended to affirm the student’s gender identity”
       Id. (Iowa Code § 279.87(3)). Covered accommodations include requests
       to “address the student using a name or pronoun that is different than
       the name or pronoun assigned to the student in the school district’s reg-
       istration forms or records.” Id.
   SF496 requires school curricula and educational programs to provide “age

appropriate and research-based information.” SF496, §§ 1–3 (Iowa Code
§ 256.11). “‘Age-appropriate’ means topics, messages, and teaching methods

suitable to particular ages or age groups of children and adolescents, based on

developing cognitive, emotional, and behavioral capacity typical for the age or

age group.” Id. § 4 (Iowa Code § 256.1(19)); see also id. § 9 (Iowa Code § 279.50).

But the term does not include “descriptions or visual depictions of a sex act,”

id., which is in turn defined in detail: it includes “penetration of the penis into

the vagina or anus;” “[c]ontact between the mouth and genitalia or mouth and

anus or by contact between the genitalia of one person and the genitalia or

anus of another person;” “[c]ontact between the finger, hand, or other body part


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of one person and the genitalia or anus of another person, except in the course

of examination or treatment by” specified licensed professionals; “[e]jaculation

onto the person of another;” the “use of artificial sexual organs or substitutes

therefore in contact with the genitalia or anus;” and “[t]he touching of a per-

son’s own genitals or anus with a finger, hand, or artificial sexual organ or

other similar device at the direction of another person.” Id. (Iowa Code

§ 256.11(19)(a)). The definition does not include health-related materials like

those relating to Iowa’s “human growth and development curriculum.” Id.
   SF496 sets curricular standards and imposes duties upon school districts

and their employees. School administrators and school board members do not

struggle to understand these standards and duties. See Exhibits D, E, F, J, K.

No part of SF496 governs private speech or imposes the possibility of discipline

on anyone but school districts and their personnel. And SF496 addresses a very

real problem—books with graphic descriptions and visual depictions of sex acts

are circulating in Iowa schools. See Exhibits A, B, C, D, G, H, I, L.

II. SF496’s effective date and this belated suit.
   The Iowa Senate introduced SF496 on March 2, 2023. SF496 passed both

chambers in late April. Governor Reynolds signed SF496 into law on May 26.

See Bill History for SF496, https://perma.cc/WU74-P3A9 (accessed Dec. 11,

2023). Anti-bullying sections not challenged here went into immediate effect,

followed by the Parental Notice Section, Library Program, and Instruction Sec-

tion on July 1. See SF496 § 22; Iowa Code § 37(1). When Plaintiffs sued on

November 28, the anti-bullying sections of the bill had been in effect for six

months and the remainder, nearly five. Their suit raises a facial challenge to

the entire law but identifies challenges only to the Instruction Section, Library

Program, and Parental Notice Section along with the law’s exemption of “sex



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acts” from the definition of “age appropriate.” See Dkt. 1-1. They assert a press-

ing need for relief based on SF496’s taking effect on January 1, 2024, but that

is merely the first date on which the Department of Education can bring en-

forcement proceedings against school districts or employees who violate the

Library Program. See SF496 § 2 (Iowa Code § 256.11(9)(a)(2)). Indeed, like the

rest of SF496, the language allowing enforcement against districts and employ-

ees that violate the Parental Notice and Instruction Sections of the law have

been in effect since June 1. Id. § 14 (Iowa Code § 279.78).

                               Legal Standard
   “A preliminary injunction is an extraordinary remedy never awarded as of

right.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). This “awe-

some power” cannot be exercised unless a careful analysis shows a plaintiff

likely “will be irreparably harmed absent the issuance of the requested relief.”

Mediacom Comms. Corp. v. Sinclair Broad. Group, Inc., 460 F. Supp. 2d 1012,

1017 (S.D. Iowa 2006).

   Plaintiffs can satisfy none of the four factors—probability of success on the

merits, threat of irreparable harm to the movant, balance between that harm

and the injury the injunction will inflict on others and whether an injunction

is in the public interest—courts weigh when deciding whether to grant a pre-
liminary injunction. See Sanborn Mfg. Co., v. Campbell Hausfeld/Scott Fetzer

Co., 997 F.2d 484, 485–86 (8th Cir. 1993). The Court’s work is lessened here,

however, as without “a threshold finding that [Plaintiffs are] likely to prevail

on the merits,” which they are not, the Court does not even proceed to the other

three factors. Planned Parenthood Minn., N.D., S.D. v. Rounds, 530 F.3d 724,

732–33 (8th Cir. 2008) (en banc). That ordering creates a “more rigorous stand-

ard” that “ensure[s] that preliminary injunctions that thwart a state’s



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presumptively reasonable democratic processes are pronounced only after an

appropriately deferential analysis.” Id. at 733.

                                   Argument

I. Plaintiffs’ claims are not likely to succeed.
   Plaintiffs’ claims are both procedurally and substantively infirm. They

therefore cannot show likely success on the merits, which at a bare minimum
requires a complaint that properly states a claim—a hurdle they do not clear.

See Does v. Gillespie, 867 F.3d 1034, 1039 (8th Cir. 2017) (no likelihood of suc-

cess on the merits when the plaintiffs lacked an enforceable federal right).

   A. Plaintiffs’ First Amendment claims fail.
   Plaintiffs lack standing to pursue their free-speech claims. But even with

standing, Plaintiffs’ claims are foreclosed by the government speech doctrine.

Plaintiffs also fail to plead an actionable a First Amendment expressive asso-

ciation claim.

      1. Plaintiffs lack standing.
   Before reaching the merits, federal courts must ensure litigants have Arti-

cle III standing. Dept. of Educ. v. Brown, 143 S. Ct. 2343, 2350–51 (2023).
Standing requires having “(1) suffered an injury in fact, (2) that is fairly trace-

able to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330,

338 (2016). Plaintiffs must prove standing as to each challenged section—

“[s]tanding is not dispensed in gross.” Hershey v. Jasinski, 86 F. 1224, 1230

(8th Cir. 2023) (quotation omitted). They fail; they do not allege, much less

introduce, facts showing they have standing. Id. (quoting CAMP Legal Def.

Fund, Inc. v. City of Atlanta, 451 F.3d 1257, 1273 (11th Cir. 2006)).




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          a. Plaintiffs have suffered no injury in fact.
   First, Plaintiffs plead no injury in fac—no “invasion of a legally protected

interest that is concrete and particularized and actual or imminent, not con-

jectural or hypothetical.” Missouri v. Biden, 52 F.4th 362, 368 (8th Cir. 2022),

cert. denied, No. 22-1248 (U.S. Oct. 10, 2023) (quoting Spokeo, 578 U.S. at 339)

(quotations omitted). Subjective belief does not create standing. Zanders v.

Swanson, 573 F.3d 591, 594 (8th Cir. 2009). Even when life or liberty is at

stake, a plaintiff “must face a credible threat of present or future prosecution

under the statute for a claimed chilling effect to confer standing.” Id. at 593.
“[G]eneral allegations of possible or potential injury do not” create an injury in

fact, especially when a defendant cannot enforce a challenged statute. Id. at

594.

   Rather than allege an injury in fact, Plaintiffs’ allegations challenge

SF496’s symbolism. In their view, the law “is designed to erase LGBTQ+ stu-

dents from Iowa Schools,” “condemns any acknowledgement that LGBTQ+

people exist,” “stigmatizes those students who wish to read” materials removed

from Iowa curricula, and prohibits “anything that might acknowledge the ex-

istence of an LGBTQ+ student or make an LGBTQ+ student feel welcome.”

Dkt.2-1 at 12, 16, 18, 20, 12. These are catchy sound bites, not concrete, par-

ticularized injuries cognizable under the First Amendment. An injunction can-

not redress Plaintiffs’ disagreement with the Legislature.

   Alleged “chill” pervades Plaintiffs First Amendment claims. But standing

based on chill requires showing “objectively reasonable” self-censorship. Iowa

Right to Life Comm., Inc. v. Tooker, 795 F. Supp. 2d 852, 871 (S.D. Iowa) (quot-

ing Republican Party of Minn. v. Klobuchar, 381 F.3d 785, 792 (8th Cir. 2004)).

They must also show they face “a credible threat” of discipline following




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protected speech they would otherwise make. Republican Party of Minn., 381

F.3d at 792.

   They can show neither because SF496 does not regulate their conduct.

Nothing in that law prohibits students from “taking pride” in who they are,

“being honest and open about” their identities, “wearing clothing that could

identify” them as homosexual, or sharing their gender identity or sexual orien-

tation with others, including teachers or staff. Dkt. 2-1 at 9. Their allegedly

chilled speech “is not proscribed” by SF496. Republican Party of Minn., 381
F.3d at 793. For example, Plaintiff A.C. alleges that she “conceals herself in-

stead of taking pride in who she is” at school, for fear “that being honest and

open about her identity will get her, or any teachers or staff who might show

support for her, into trouble.” Dkt. 2-1 at 16. But SF496 prohibits none of that.

And nothing A.C. says will lead to her or any school employee’s discipline. Her

decision to self-censor is not “objectively reasonable.” See Republican Party of

Minn., 381 F.3d at 792.

   Further, Plaintiffs face no “credible threat of prosecution.” Id. SF496 gov-

erns and is enforced against only school districts or employees, not students.

See SF496 §§ 2 (Iowa Code § 256.11(9)(a)(1)), 14 (Iowa Code § 279.78(4)). Plain-

tiffs recognize that and so contend that their injury is their unwillingness to

speak with teachers for fear of the teacher facing discipline. But, again, that is

not objectively reasonable—the law does not prohibit students from speaking

to teachers and, even if it did, the teacher would comply with the law by re-

porting conversations about sexuality or gender identity to the parents.

    Speculative injuries that rely on “highly attenuated chain[s] of possibili-

ties” do not establish standing. Sch. of the Ozarks, Inc. v. Biden, 41 F.4th 992,

1000 (8th Cir. 2022), cert. denied, 143 S. Ct. 2638 (2023) (quoting Clapper, 568

U.S. at 410). Here, Plaintiffs’ alleged fear is not based on a threat of prosecution


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against them for violating the law, but on the possibility that a future conver-

sation might cause a teacher to choose to violate the law rather than comply

with it. Even if it were possible for a student’s comments to a teacher to violate

the law, the claim in that case would belong to the injured party—the non-

complying teacher against whom disciplinary proceedings were brought—not

the student.

   Finally, none of the minor Plaintiffs has standing to sue over the Parental

Notice Section. Each Plaintiff’s parents already know about the child’s sexual-
ity and announced gender—indeed, are comfortable enough with it that they

are acting as next friends in this high-profile litigation over it—so there is no

chance of the “forced outing” that Plaintiffs claim to fear.

   Plaintiffs’ subjective fears are not traceable to the text of SF496 or its

proper enforcement. See Spokeo, 578 U.S. at 338. They cannot show a causal

connection between SF496’s requirements and the subjective injuries com-

plained of. Id.

   And Plaintiffs nowhere show how Iowa Safe Schools has standing. Iowa

Safe Schools makes no allegations that it suffered an injury in fact. See Ouach-

ita Watch League v. United States Forest Serv., 858 F.3d 539, 542 (8th Cir.

2017). Without its own injury, Iowa Safe Schools may be attempting to assert

associational standing. For Iowa Safe Schools to have associational standing

they must “identify members who have suffered the requisite harm.” Religious

Sisters of Mercy v. Becerra, 55 F.4th 583, 602 (8th Cir. 2022) (quotation omit-

ted). Iowa Safe Schools fails to meet its burden. See id.

       2. The State’s discretion over curriculum and library inventory
          is constitutionally protected government speech.
   Under the government speech doctrine, “[a] government entity has the right

to ‘speak for itself.’” Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 467


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(2009) (quoting Board of Regents of Univ. of Wis. System v. Southworth, 529

U.S. 217, 229 (2000)). When it does so, “it is entitled to say what it wishes.” Id.

(citing Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S. 819, 833

(1995). Indeed “it is the very business of government to favor and disfavor

points of view.” Natl. Endowment for Arts v. Finley, 524 U.S. 569, 598 (1998)

(Scalia, J. concurring in judgment). “When the State is the speaker, it may

make content-based choices.” Rosenberger, 515 U.S. at 833. “The Free Speech

Clause restricts government regulation of private speech; it does not regulate
government speech.” Pleasant Grove, 555 U.S. at 467.

   Public schools in Iowa are creations of the State and many of their expres-

sive decisions, including what books to make available in the library, are gov-

ernment speech. SF496 does not regulate private speech. It sets school curric-

ula and library inventory, which is government speech that does not trigger

the Free Speech Clause of the First Amendment. See Rosenberger, 515 U.S. at

833 (“When the University determines the content of the education it provides,

it is the University speaking, and we have permitted the government to regu-

late the content of what is or is not expressed.”); Walker v. Texas Div., Sons of

Confederate Veterans, Inc., 576 U.S. 200, 215 (2015) (government speech does

not violate First Amendment); PETA, Inc. v. Gittens, 414 F.3d 23, 28 (D.C. Cir.

2005) (government speaks through its exclusion of books in libraries). The

Eighth Circuit recognizes that principle, too; if the United States can choose

who speaks on its bases, States can choose who speaks at their schools. Persons

for Free Speech at SAC v. U.S. Air Force, 675 F.2d 1010, 1022 (8th Cir. 1982).

   Government speech includes content discretion over speech the government

presents to the public. See, e.g., Leake v. Drinkard, 14 F.4th 1242, 1253 (11th

Cir. 2021) (parade); Ark. Educ. Television Commn. v. Forbes, 523 U.S. 666, 674

(1998) (broadcasted debate and university commencement); Finley, 524 U.S. at


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586 (art gallery). Government speech goes beyond content-based decisions to

include viewpoint-based choices, too. For example, a city’s decision as to what

type of statue to erect was government speech that did not require even view-

point neutrality. Pleasant Grove, 555 U.S. at 470–73.

   In public schools, “expression delivered directly through the government or

indirectly through private intermediaries” is government speech, and the

school “is free to make subject-matter-based choices.” Bannon v. Sch. Dist. of

Palm Beach Cnty, 387 F.3d 1208, 1213 (11th Cir. 2004); see Rosenberger, 515
U.S. at 833; Taylor v. Roswell Indep. Sch. Dist., 713 F.3d 25, 36 (10th Cir. 2013)

(“Schools ‘do not offend the First Amendment by exercising editorial control

over the style and content of student speech in school-sponsored expressive

activities.’”) (quoting Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 271

(1988)); Downs v. Los Angeles Unified Sch. Dist., 228 F.3d 1003, 1013 (9th Cir.

2000) (“[W]hen a public high school is the speaker, its control of its own speech

is not subject to the constraints of constitutional safeguards and forum analy-

sis, but instead is measured by practical considerations applicable to any indi-

vidual’s choice of how to convey oneself.”).

   As governmental bodies, schools “have considerable authority to control

their own speech,” and “[f]oremost among a school’s speech is its selection and

implementation of a curriculum,” which “public schools have broad discretion

in making.” Ward v. Polite, 667 F.3d 727, 732 (8th Cir. 2012). So “and which

they may use to ensure students “are not exposed to material that may be in-

appropriate for their level of maturity.” Kuhlmeier, 484 U.S. at 271.

   A school may “disassociate itself” from speech that is “vulgar” or “unsuitable

for immature audiences.” Id. Indeed, it “must be able to take into account the

emotional maturity” of students, especially regarding “sensitive topics, which

might range from the existence of Santa Claus in an elementary school to the


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particulars of teenage sexual activity in a high school setting.” Id. at 272. And

a school must have the authority over its speech to maintain a position of “neu-

trality on matters of political controversy.” Id.

   When student speech amounts to school-sponsored expressive activity, like

participation in a curriculum, the school may restrict it if doing so “reasonably

relate[s] to legitimate pedagogical concerns.” Id. at 273 (cleaned up). That

standard reflects appreciation for “the education of the Nation’s youth” being

“primarily the responsibility of parents, teachers, and state and local school
officials, and not of federal judges.” Id. at 273.

   SF496’s age-appropriateness standard is a curricular choice firmly pro-

tected by the government speech doctrine. Those portions of the law do not

regulate private speech. The State may eliminate “sex acts” from age-appro-

priate school curricula and may choose to reserve teaching on “sexual orienta-

tion” and “gender identity” until after sixth grade. It may, that is, create gov-

ernment-speech guidelines that reflect student maturity. Courts have long up-

held that type of maturity-based decision-making, see id. at 272. The Court

should do so here. See also Mayer v. Monroe Cnty. Cmty. Sch. Corp., 474 F.3d

477, 479 (7th Cir. 2007) (First Amendment does not entitle teachers to advo-

cate viewpoints that depart from curriculum); Marshall v. Bd. Of Educ. Of Tipp

City Exempted Vill. Sch. Dist., 624 F.3d 332, 341 (6th Cir. 2010).

   Plaintiffs’ retreat to a “right to receive information” cannot help them. A

“listener’s right to receive information is reciprocal to the speaker’s right to

speak,” Doe ex rel. Doe v. Governor of N.J., 783 F.3d 150, 155 (3d Cir. 2015)—

and the State has plenary authority over its own message. Pleasant Grove, 555

U.S. 460 at 467. Plaintiffs cannot compel the State to speak. See Dean v. War-

ren, 12 F.4th 1248, 1264 (11th Cir. 2021) (the “Free Speech Clause does not

restrict government speech,” including a planned protest by a cheerleader in


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State university uniform); see also Keeton v. Anderson Wiley, 644 F.3d 865, 877

(11th Cir. 2011).

   Indeed, Plaintiffs have no constitutional power to control school library in-

ventories; a government’s compilation of third-parties’ expressive content is

government speech. Forbes, 523 U.S. at 674. “The First Amendment works as

a shield to protect private persons from encroachments by the government on

their right to speak freely, not as a sword to compel the government to speak

for them.” Gundy v. City of Jacksonville Fla., 50 F.4th 60, 71 (11th Cir. 2022),
cert. denied, 143 S. Ct. 790 (2023). And “when the [State] is selecting textbooks

for use in the classroom, students have no constitutional right to compel the

[State] to select materials of their choosing.” Chiras v. Miller, 432 F.3d 606,

620 (5th Cir. 2005).

      3. Precedent protects the State’s discretion to control its curric-
         ulum.

          a. SF 496 does not function in a “narrowly partisan or polit-
             ical manner.”
   Nor can Plaintiffs find solace in Pico’s narrow and fractured judgment. See

Dkt. 2-1 at 10 (citing Bd. Of Educ., Island Trees Union Free Sch. Dist. No. 26
v. Pico, 457 U.S. 853, 872 (1982) (plurality op.). Pico’s plurality explained that

school library materials may not be removed “in a narrowly partisan or politi-

cal manner.” 457 U.S. at 870. But there is nothing partisan about removing

depictions and descriptions of sex acts from school libraries. The example Pico

feared was a “Democratic school board, motivated by party affiliation, or-

der[ing] the removal of all books by or in favor of Republicans.” Id. at 871.

   That is unlike the content choices here, which ensure school libraries con-

tain age-appropriate books. SF496 is neutral—it takes no partisan or view-

point stance on anything. It does not “prescribe what shall be orthodox in


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politics, nationalism, religion, or other matters of opinion.” Pico, 457 U.S. at

872. And the Legislature’s role in setting those standards is “consistent with”

the responsibility of the proper decision-makers for children: “the Nation’s

youth is primarily the responsibility of parents, teachers, and state and local

school officials, and not of federal judges.” Kuhlmeier, 484 U.S. at 273. Even if

SF496 triggered the first amendment under Pico, the result is the same.

          b. Recent cases that commanded a majority, not an earlier
             case decided by a plurality, establish the standard.
   Not only does Pico not govern, it lacks “precedential value as to the appli-

cation of the First Amendment to these issues” and “establishes no standard.”

ACLU of Fla., Inc. v. Miami-Dade Cnty. Sch. Bd., 557 F.3d 1177, 1200 (11th

Cir. 2009) (quotation omitted). That “badly fractured decision” is “a non-deci-

sion so far as precedent is concerned.” Id. at 1199–1200. Post-Pico develop-

ments show that Pico’s plurality should, at minimum, be narrowly construed.

   Since Pico, courts have recognized that public libraries are not public fo-

rums for private speech and that “the government speaks through its selection

of what books to put on the shelves and which books to exclude.” Gittens, 414

F.3d at 28; see United States v. Am. Libr. Assn., Inc., 539 U.S. at 207. The First

Amendment does not override a State’s discretion to select materials based on
content and viewpoint, see Gittens, 414 F.3d at 29, and that analysis does not

change based on the forum, Walker, 576 U.S. at 215 (“When the government

speaks, it is not barred by the Free Speech Clause from determining the con-

tent of what it says.”). A fortiori, States may regulate their public-school librar-

ies, particularly those with a young student body, so they “support[] the stu-

dent achievement goals of the total school curriculum.” SF496, § 2.

   Pico’s narrow view of the right to remove books from libraries predates the

Supreme Court’s explanation of the government-speech doctrine, which took


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on fuller shape after Rosenberger, 515 U.S. at 819. Indeed, courts have since

concluded that forum analyses do not apply to public libraries due to the dis-

cretionary nature of their mission. 539 U.S. at 204, 213 n.7. Courts have since

reiterated that government speech includes the freedom “not to speak” and to

“‘speak through the removal’ of speech that the government disapproves.”

Mech v. Sch. Bd. of Palm Beach Cnty., Fla., 806 F.3d 1070, 1074 (11th Cir.

2015) (quoting Downs, 228 F.3d at 1012). In short, “[w]ith respect to the public

library, the government speaks through its selection of which books to put on
the shelves and which books to exclude.” Gittens, 414 F.3d at 28–29.

      4. Plaintiffs’ expressive-association claim fails—both on the
         merits and for lack of standing.
   Plaintiffs’ right to expressive association or associational freedom are unaf-

fected by SF496. SF496 does not regulate noncurricular groups. SF496 creates

no “forced inclusion” that restricts the right to associate. See Boy Scouts of Am.

v. Dale, 530 U.S. 640, 644 (2000). It does not require disclosure of membership

lists for persons wanting anonymity. Cf. Brown v. Socialist Workers ’74 Cam-

paign Comm. (Ohio), 459 U.S. 87, 101–102 (1982). Nor does it impose penalties

or withhold benefits based on membership in disfavored groups. Healy v.

James, 408 U.S. 169, 180–184 (1972). It creates no restrictions, and imposes
no requirements, on whom Plaintiffs may associate with.

   Plaintiffs instead allege that club membership has “dwindled” in one school

district and that another district cannot find a faculty sponsor for a proposed

club. But SF496 does not forbid students from joining or school-district em-

ployees from sponsoring clubs of any sort. Cf. Pope v. E. Brunswick Bd. of

Educ., 12 F.3d 1244, 1256 n.17 (3d Cir. 1993) (finding no right to a faculty

advisor). Neither inadequate sponsorship nor declining student participation

are First Amendment violations. And a student’s membership in a club does


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not trigger the Parental Notice requirement. Indeed, joining a GSA or any stu-

dent club is not a request for gender affirming accommodation. See SF496, § 14

(Iowa Code § 279.78(3)). But even if that were the case, as described above,

these Plaintiffs, whose parents already know their sexual orientation and

transgender status, cannot be chilled.

   Plaintiffs allege that an Iowa City elementary school discontinued a club

because of SF496, Dkt. 2-1 at 18, but they introduce no evidence that this was

the case and no argument that SF496, reasonably construed, requires that re-
sult.

   B. Plaintiffs’ equal protection claim fails.

        1. Rational-basis scrutiny applies.
   SF496 is constitutional “so long as it bears a rational relation to some legit-

imate end.” Walker v. Hartford Life and Accidents Ins., 831 F.3d 968, 976 (8th

Cir. 2016). For a heightened level of scrutiny to apply, the law would have to

classify people based on sex or impose differential treatment based on sex.

Craig v. Boren, 429 U.S. 190, 197 (1976); United States v. Virginia, 518 U.S.

515, 532–33 (1996). SB496 does neither—certainly, Plaintiffs identify no lan-

guage in the law that does so.

   Rather than identify a classification in SF496’s text, Plaintiffs rely on their

subjective reaction to the law—on how it makes them feel. Dkt. 2-1 at 17. A

plaintiff’s feelings do not show “differential treatment.” Virginia, 518 U.S. at

532–33.

   Plaintiffs also confuse their equal-protection and free-speech claims. They

allege “the purpose and effect of SF496 is to suppress speech, expression, in-

formation, and ideas about” certain people but not others and contend it pre-

cludes their access to certain literature. Dkt. 2-1 at 17. But no one else can



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access that literature in a school library. The law treats Plaintiffs the same as

it treats similarly situated students, and “exposure to a discriminatory mes-

sage, without a corresponding denial of equal treatment, is insufficient to plead

injury in an equal protection case.” Moore v. Bryant, 853 F.3d 245, 250 (5th

Cir. 2017); see also Johnson v. City of Minneapolis, 152 F.3d 859, 862 (8th Cir.

1998) (lack of differential treatment precludes equal-protection claim); Bailiff

v. Adams Cnty. Conf. Bd., 54 F. Supp. 2d 923, 934 (S.D. Iowa 1999) (same).

         2. There is a rational basis for the law.
   SF496 rationally advances the goal of ensuring “age-appropriate and re-

search based” lessons. SF496, § 2 (Iowa Code § 256.11(2)). It keeps inappropri-

ate material away from children in school before they reach an age at which

discussions become appropriate. SF496 also allows parents to decide when and

whether they teach their children about “gender identity” and “sexual orienta-

tion.” SF496, § 6 (Iowa Code § 256F.4(2)). It keeps parents informed about

their child’s important health, medical, and psychological information. SF496,

§ 15 (Iowa Code § 279.79(1)).

   SF496 neutrally allows classes regarding human sexuality to begin around

the common point of puberty. See SF496 § 16. It also neutrally proscribes in-
struction on “sexual orientation,” whether gay, straight, or otherwise. See id.

(defining “sexual orientation” as “actual or perceived heterosexuality, homo-

sexuality, or bisexuality”). So age appropriate sexuality teaching remains the

same regardless of the sex, sexual orientation, or gender identity of the stu-

dents.

   SF496’s ends are “consistent with” Kuhlmeier’s holding that “the education

of the Nation’s youth is primarily the responsibility of parents, teachers, and

state and local school officials, and not of federal judges.” 484 U.S. at 273.



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   C. Plaintiff’s equal access claim fails.
   The plain language of SF496 establishes that it does not regulate school

clubs. It therefore cannot violate the Equal Access Act, 20 U.S.C. § 4071, which

prohibits secondary schools from denying equal access to, or discriminating

against, “students who wish to conduct a meeting within” a limited open forum

because of “the religious, political, philosophical, or other content of the speech

at such meetings.” 20 U.S.C. § 4071(a). A secondary school creates a “limited

open forum” when it “grants an offering to or opportunity for one or more non-

curricular student groups to meet on school premises during noninstructional
time.” Id. § 4071(b). To establish a violation of that act, Plaintiffs must show

one of two things: that their schools prohibited their clubs from meeting while

allowing other student groups to do so, or that their schools gave space to other

student groups and but not their clubs. Straights & Gays for Equal. v. Osseo

Area Sch.-Dist. No. 279, 540 F.3d 911, 914 (8th Cir. 2008). Either way, Plain-

tiffs’ statutory claims fail.

   First, SF496 does not deny equal access to school premises. It says nothing

about student groups or access to school facilities. Plaintiffs contend that

SF496 obstructs their clubs’ ability “to meet on the same terms as other non-
curricular clubs.” See Dkt. 2–1 at 19. But they do not cite a section of the law

that has that effect—because there is not one. Fears about a law that are un-

connected from its proper enforcement do not confer standing or justify a pre-

liminary injunction. See Sch. of the Ozarks, 41 F.4th at 1000.

   Second, Plaintiffs’ equal-access allegations do not state a claim. The shut-

down of an elementary-school club could not state a claim because the Equal

Access Act doesn’t apply to elementary schools. See 20 U.S.C. § 4071. Even if

it did, Plaintiffs do not allege the club was treated differently than other

clubs—or even that the elementary school has other clubs. Nor can the


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allegations state a claim against the State Defendants, who are not a “public

secondary school” subject to the Equal Access Act. 20 U.S.C. § 4071(a).

   Finally, the equal-access claim fails for the same reasons Plaintiffs’ expres-

sive-association claim fails above. See Argument § I.C.

II. The other factors do not support a preliminary injunction.
   Plaintiffs’ failure to show likelihood of success is fatal. See Rounds, 530 F.3d

at 732. This Court need not “proceed to weigh the other [preliminary-injunc-

tion] factors.” Id. at 732. But the other factors also weigh against an injunction.

   A. Plaintiffs face no irreparable harm.
   Plaintiffs do not face irreparable harm. Indeed, as described above, they

face no harm at all—they are not covered by the law and it cannot be enforced

against them. More, should Plaintiffs wish to access books that are removed

from their school libraries, they have ample ability to do so from other libraries

or booksellers—and the costs of doing so are quantifiable and compensable.

Tumey v. Mycroft AI, Inc., 27 F.4th 657, 667 (8th Cir. 2022).

   Further, whatever harm Plaintiffs might suffer is not imminent. The en-

forcement section that goes into effect on January 1 does not allow instantane-

ous punishment. See SF496, § 2 (Iowa Code § 256.11(9)). The Department of

Education must first investigate an alleged violation of the Library Plan. If it

finds a violation, it issues a written warning. Id. Disciplinary action can come

only for a second or subsequent “knowing violation,” and only after a hearing

conducted by the board of educational examiners. Id. And the lack of immi-

nence is reinforced because Plaintiffs can identify no enforcement actions

brought against districts or personnel under the enforcement authority that

has been operative for half a year. See Background § II.




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   This underscores the dichotomy between Plaintiffs’ cry for immediate relief

and their delay in seeking a preliminary injunction. SF496 was introduced in

the Iowa Senate in March. After a lengthy and highly publicized committee,

amendment, and debate process, it passed on April 20, and Governor Reynolds

signed it into law on May 26. But Plaintiffs did not sue until nearly five months

later. “A delay in seeking a preliminary injunction of even only a few months—

though not necessarily fatal—militates against a finding of irreparable harm.”

Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244, 1248 (11th Cir. 2016); see also
Ng v. Bd. of Regents of Univ. of Minn., 64 F.4th 992, 997 (8th Cir. 2023) (“[A]n

unreasonable delay in moving for the injunction can undermine a showing of

irreparable harm and is a sufficient ground to deny a preliminary injunction.”)

(internal quotation omitted).

   B. The equities balance against an injunction, which would not be
      in the public interest.
   As to the balance of harms, a preliminary injunction will create uncertainty

and cause greater harm to the State, its students, and parents whose rights

SF496 protects. An injunction is also not in in the public interest. “[A]ny time

a State is enjoined by a court from effectuating statutes enacted by represent-

atives of its people, it suffers a form of irreparable injury.” New Motor Vehicle

Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in cham-

bers); see also Rounds, 530 F.3d at 732–33 (stressing the “more rigorous stand-

ard for” for showing likelihood of success when movants seek to “thwart a

state’s presumptively reasonable democratic processes”). Statutes are “pre-

sumed constitutional and all doubts are resolved in favor of constitutionality.”

Arkansas Times LP v. Waldrip as Tr. of Univ. of Arkansas Bd. of Trs., 37 F.4th

1386, 1393 (8th Cir. 2022), cert. denied, 143 S. Ct. 774 (2023).




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   SF496 included three sections that were considered of immediate im-

portance, so they went into immediate effect. SF496 § 21. All three sections

addressed school bullying and harassment. Plaintiffs here seek a facial injunc-

tion against the entire law with no regard for preserving many clearly consti-

tutional provisions, even those that protect children from bullying and harass-

ment and require schools to notify parents when that behavior occurs. See

Phelps-Roper v. City of Manchester, 697 F.3d 678, 685 (8th Cir. 2012) (en banc)

(“Facial challenges are disfavored.”). To succeed on a facial challenge, there
must be no “circumstance” that exists in which the statute can be constitution-

ally applied. Furlow v. Belmar, 52 F.4th 393, 400 (8th Cir. 2022). Plaintiffs did

the Court no favors in declining to specify enforcement of which sections of

Iowa Code they believe warrants an injunction. Instead, they ask the Court to

enjoin it all.

   Further, enjoining enforcement of SF496—particularly if the law is ulti-

mately upheld and the injunction dissolved—would perpetuate the harms the

law seeks to avoid. See Exhibits A, B, C, D, G, H, I, L. Just as toothpaste cannot

be forced back into the tube, children cannot unsee materials they were not

mature enough to understand; all that remains is attempting to clean up the

mess after. Id. Enjoining the operation of SF496 will prevent schools from act-

ing to remove inappropriate material from their shelves, prevent parents from

reviewing their local school’s curriculum for inappropriate material, and with-

hold children’s vital mental and physical health information from their par-

ents. School administrators and school board members do not struggle to un-

derstand and apply SF496. See Exhibits D, E, F, J, K. There is little way to

calculate how many children will be exposed to materials inappropriate for

their age and maturity or how many children will face a delay in obtaining care

because teachers thought they knew better than the parents what was best for


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the child. Compare the potential harm to Plaintiffs if an injunction is wrong-

fully granted: They will have to wait for a few months to have access to a book

in their school libraries or, should their patience wane, go to a different library,

a bookstore, or Amazon.

                                   Conclusion
   State Defendants ask the Court to deny Plaintiffs’ request for a preliminary

injunction and grant such further relief the court deems equitable and just.


                                          Respectfully submitted,

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Original filed electronically.
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           PROOF OF SERVICE
 The undersigned certifies that the foregoing instrument
 was served on counsel for all parties of record by delivery
 in the following manner on December 19, 2023:

         U.S. Mail                  FAX
         Hand Delivery              Overnight Courier
         Federal Express            Other
         CM/ECF

 Signature: /s/ Daniel Johnston




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